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                        IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE
--------------------------------------------------------------- x
In re:                                                          : Chapter 11
                                                                :
                                                        1
The Weinstein Company Holdings LLC, et al.,                     : Case No. 18-10601 (MFW)
                                                                :
                  Debtors.                                      : (Jointly Administered)
                                                                :
-------------------------------------------------------------- x
Lantern Entertainment LLC,                                      : Adversary Case No. 18-50924 (MFW)
                                                                :
                                    Plaintiff,                  :
                  vs.                                           :
                                                                :
Bruce Cohen Productions, and Bruce Cohen,                       :
                                                                :
                  Defendants.                                   :
--------------------------------------------------------------- x
                     NOTICE OF AGENDA OF MATTERS SCHEDULED
                   FOR HEARING ON JANUARY 14, 2019 AT 11:30 A.M. (ET)2

I.       CONTINUED MATTERS:

         1.        Joint Motion of Debtors and Official Committee of Unsecured Creditors to
                   Approve Stipulation Granting Leave, Standing, and Authority to the Official
                   Committee of Unsecured Creditors to Investigate, Prosecute, and Settle Certain
                   Claims and Causes of Action [Docket No. 1668 - filed November 6, 2018]

                   Objection / Response Deadline:                 November 20, 2018 at 4:00 p.m. (ET);
                                                                  extended by agreement for certain Directors
                                                                  (Robert Weinstein, Tim Sarnoff, Marc
                                                                  Lasry, Taran Ben Ammar, Lance Maerov,
                                                                  Jeff Sackman, Richard Koenigsberg, Paul
                                                                  Tudor Jones, James Dolan, and Dirk Ziff) to
                                                                  January 21, 2019 at 4:00 p.m. (ET)

1
  The last four digits of The Weinstein Company Holdings LLC’s federal tax identification number are (3837). The
mailing address for The Weinstein Company Holdings LLC is 99 Hudson Street, 4th Floor, New York, New York 10013.
Due to the large number of Debtors in these cases, which are being jointly administered for procedural purposes only, a
complete list of the Debtors and the last four digits of their federal tax identification numbers are not provided herein. A
complete list of this information may be obtained on the website of the Debtors’ noticing and claims agent at
http://dm.epiq11.com/twc.
2
  The hearing will be held before The Honorable Mary F. Walrath at the United States Bankruptcy Court for the District of
Delaware, 824 North Market Street, 5th Floor, Courtroom 4, Wilmington, Delaware 19801. Any person who wishes to
appear telephonically at the January 14, 2019 hearing must contact COURTCALL, LLC at 866-582-6878 prior to 12:00
noon (ET) on Friday, January 11, 2019 to register his/her telephonic appearance in accordance with the Instructions for
Telephonic Appearances Effective January 5, 2005, Revised May 11, 2018.



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                   Objections / Responses Received:     None to date.

                   Related Documents:

                   i.     Declaration of Alan M. Jacobs in Support of Joint Motion of Debtors and
                          Official Committee of Unsecured Creditors to Approve Stipulation
                          Granting Leave, Standing, and Authority to the Official Committee of
                          Unsecured Creditors to Investigate, Prosecute, and Settle Certain Claims
                          and Causes of Action [Docket No. 1669 - filed November 6, 2018]

                   ii.    Notice of Adjournment of Hearing Regarding Joint Motion of Debtors and
                          Official Committee of Unsecured Creditors to Approve Stipulation
                          Granting Leave, Standing, and Authority to the Official Committee of
                          Unsecured Creditors to Investigate, Prosecute, and Settle Certain Claims
                          and Causes of Action [Docket No. 1726 - filed November 16, 2018]

                   iii.   Notice of Adjournment of Hearing Regarding Joint Motion of Debtors and
                          Official Committee of Unsecured Creditors to Approve Stipulation
                          Granting Leave, Standing, and Authority to the Official Committee of
                          Unsecured Creditors to Investigate, Prosecute, and Settle Certain Claims
                          and Causes of Action [Docket No. 1934 - filed January 3, 2019]

                   Status: The hearing on this matter has been continued to January 28, 2019 at
                           11:30 a.m. (ET).

         2.        Motion of Light Chaser Animation to Compel Assumption of its Licensing
                   Agreement [Docket No. 1794 - filed November 29, 2018]

                   Objection / Response Deadline:       December 10, 2018 at 4:00 p.m. (ET);
                                                        extended by agreement for the Debtors and
                                                        Lantern to January 21, 2019 at 12:00 noon
                                                        (ET)

                   Objections / Responses Received:     None to date.

                   Related Documents:           None to date.

                   Status: The hearing on this matter has been continued to January 28, 2019 at
                           11:30 a.m. (ET).

II.      MATTERS GOING FORWARD:

         3.        Notice of Filing of List of Assumed Contracts Pursuant to Sale Order [Docket No.
                   1457 - filed September 5, 2018]

                   Objection / Response Deadline:       September 17, 2018 at 4:00 p.m. (ET)

                   Objections / Responses Received:     See Exhibit A attached hereto.


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                   A.     The Official Committee of Unsecured Creditors’ (I) Objection to
                          Supplemental Notice of Filing of List of Assumed Contracts Pursuant to
                          Sale Order and (B) Joinder to the Motion of Executory Contract
                          Counterparties for Order Confirming That Counterparties’ Agreements
                          Have Been Designated By Lantern for Assumption and Assignment
                          [Docket No. 1771 - filed November 26, 2018]

                   B.     Joinder of Opus Bank to the Official Committee of Unsecured Creditors’
                          (I) Objection to Supplemental Notice of Filing of List of Assumed
                          Contracts Pursuant to Sale Order and (B) Joinder to the Motion of
                          Executory Contract Counterparties for Order Confirming That
                          Counterparties’ Agreements Have Been Designated by Lantern for
                          Assumption and Assignment [Docket No. 1843 - filed December 12,
                          2018]

                   Related Documents:

                   i.     Supplemental Notice of Filing of List of Assumed Contracts Pursuant to
                          Sale Order [Docket No. 846] [Docket No. 1512 – filed September 20,
                          2018]

                   ii.    Supplemental Notice of Filing of List of Assumed Contracts Pursuant to
                          Sale Order [Docket No. 1665 - filed November 5, 2018]

                   iii.   Supplemental Notice of Filing of List of Assumed Contracts Pursuant to
                          Sale Order [Docket No. 1695 - filed November 8, 2018]

                   iv.    Omnibus Objection of Lantern Entertainment LLC to (I) Supplemental
                          Objection and Joint Motion of SLP Contract Counterparties to Clarify Sale
                          Order; (II) Motion of Executory Contract Counterparties for Order
                          Confirming That Counterparties’ Agreements Have Been Designated by
                          Lantern for Assumption and Assignment; and (III) The Official
                          Committee of Unsecured Creditors’ (I) Objection to Supplemental Notice
                          of Filing of List of Assumed Contracts Pursuant to Sale Order and
                          (B) Joinder to the Motion of Executory Contract Counterparties for Order
                          Confirming That Counterparties’ Agreements Have Been Designated By
                          Lantern for Assumption and Assignment [Docket No. 1939/Adv. Case No.
                          18-50924 (MFW) Docket No. 25 - filed January 7, 2019]

                   v.     Declaration of Irwin Reiter in Support of Omnibus Objection of Lantern
                          Entertainment LLC to (I) Supplemental Objection and Joint Motion of
                          SLP Contract Counterparties to Clarify Sale Order; (II) Motion of
                          Executory Contract Counterparties for Order Confirming That
                          Counterparties’ Agreements Have Been Designated by Lantern for
                          Assumption and Assignment; and (III) The Official Committee of
                          Unsecured Creditors’ (I) Objection to Supplemental Notice of Filing of
                          List of Assumed Contracts Pursuant to Sale Order and (B) Joinder to the


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                          Motion of Executory Contract Counterparties for Order Confirming That
                          Counterparties’ Agreements Have Been Designated By Lantern for
                          Assumption and Assignment [Docket No. 1940/Adv. Case No. 18-50924
                          (MFW) Docket No. 26 - filed January 7, 2019]

                   vi.    [SEALED] Omnibus Objection of Lantern Entertainment LLC to
                          (I) Supplemental Objection and Joint Motion of SLP Contract
                          Counterparties to Clarify Sale Order; (II) Motion of Executory Contract
                          Counterparties for Order Confirming That Counterparties’ Agreements
                          Have Been Designated by Lantern for Assumption and Assignment; and
                          (III) The Official Committee of Unsecured Creditors’ (I) Objection to
                          Supplemental Notice of Filing of List of Assumed Contracts Pursuant to
                          Sale Order and (B) Joinder to the Motion of Executory Contract
                          Counterparties for Order Confirming That Counterparties’ Agreements
                          Have Been Designated By Lantern for Assumption and Assignment
                          [Docket No. 1944/Adv. Case No. 18-50924 (MFW) Docket No. 28 - filed
                          January 7, 2019]

                   vii.   [SEALED] Declaration of Irwin Reiter in Support of Omnibus Objection
                          of Lantern Entertainment LLC to (I) Supplemental Objection and Joint
                          Motion of SLP Contract Counterparties to Clarify Sale Order; (II) Motion
                          of Executory Contract Counterparties for Order Confirming That
                          Counterparties’ Agreements Have Been Designated by Lantern for
                          Assumption and Assignment; and (III) The Official Committee of
                          Unsecured Creditors’ (I) Objection to Supplemental Notice of Filing of
                          List of Assumed Contracts Pursuant to Sale Order and (B) Joinder to the
                          Motion of Executory Contract Counterparties for Order Confirming That
                          Counterparties’ Agreements Have Been Designated By Lantern for
                          Assumption and Assignment [Docket No. 1945/Adv. Case No. 18-50924
                          (MFW) Docket No. 29 - filed January 7, 2019]

                   Status: The hearing on this matter will go forward solely with respect to the
                           Committee’s objection at Docket No. 1771 and the items related thereto.
                           The status of the additional outstanding objections received is noted on
                           Exhibit A attached hereto.

         4.        Notice of Supplemental Objection and Joint Motion of SLP Contract
                   Counterparties to Clarify Sale Order [Docket No. 1664 - filed November 5, 2018]

                   Objection / Response Deadline:       December 10, 2018 at 4:00 p.m. (ET);
                                                        extended to January 7, 2019 at 4:00 p.m.
                                                        (ET)

                   Objections / Responses Received:

                   A.     Omnibus Objection of Lantern Entertainment LLC to (I) Supplemental
                          Objection and Joint Motion of SLP Contract Counterparties to Clarify Sale


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                        Order; (II) Motion of Executory Contract Counterparties for Order
                        Confirming That Counterparties’ Agreements Have Been Designated by
                        Lantern for Assumption and Assignment; and (III) The Official
                        Committee of Unsecured Creditors’ (I) Objection to Supplemental Notice
                        of Filing of List of Assumed Contracts Pursuant to Sale Order and
                        (B) Joinder to the Motion of Executory Contract Counterparties for Order
                        Confirming That Counterparties’ Agreements Have Been Designated By
                        Lantern for Assumption and Assignment [Docket No. 1939/Adv. Case No.
                        18-50924 (MFW) Docket No. 25 - filed January 7, 2019]

                   B.   Declaration of Irwin Reiter in Support of Omnibus Objection of Lantern
                        Entertainment LLC to (I) Supplemental Objection and Joint Motion of
                        SLP Contract Counterparties to Clarify Sale Order; (II) Motion of
                        Executory Contract Counterparties for Order Confirming That
                        Counterparties’ Agreements Have Been Designated by Lantern for
                        Assumption and Assignment; and (III) The Official Committee of
                        Unsecured Creditors’ (I) Objection to Supplemental Notice of Filing of
                        List of Assumed Contracts Pursuant to Sale Order and (B) Joinder to the
                        Motion of Executory Contract Counterparties for Order Confirming That
                        Counterparties’ Agreements Have Been Designated By Lantern for
                        Assumption and Assignment [Docket No. 1940/Adv. Case No. 18-50924
                        (MFW) Docket No. 26 - filed January 7, 2019]

                   C.   [SEALED] Omnibus Objection of Lantern Entertainment LLC to
                        (I) Supplemental Objection and Joint Motion of SLP Contract
                        Counterparties to Clarify Sale Order; (II) Motion of Executory Contract
                        Counterparties for Order Confirming That Counterparties’ Agreements
                        Have Been Designated by Lantern for Assumption and Assignment; and
                        (III) The Official Committee of Unsecured Creditors’ (I) Objection to
                        Supplemental Notice of Filing of List of Assumed Contracts Pursuant to
                        Sale Order and (B) Joinder to the Motion of Executory Contract
                        Counterparties for Order Confirming That Counterparties’ Agreements
                        Have Been Designated By Lantern for Assumption and Assignment
                        [Docket No. 1944/Adv. Case No. 18-50924 (MFW) Docket No. 28 - filed
                        January 7, 2019]

                   D.   [SEALED] Declaration of Irwin Reiter in Support of Omnibus Objection
                        of Lantern Entertainment LLC to (I) Supplemental Objection and Joint
                        Motion of SLP Contract Counterparties to Clarify Sale Order; (II) Motion
                        of Executory Contract Counterparties for Order Confirming That
                        Counterparties’ Agreements Have Been Designated by Lantern for
                        Assumption and Assignment; and (III) The Official Committee of
                        Unsecured Creditors’ (I) Objection to Supplemental Notice of Filing of
                        List of Assumed Contracts Pursuant to Sale Order and (B) Joinder to the
                        Motion of Executory Contract Counterparties for Order Confirming That
                        Counterparties’ Agreements Have Been Designated By Lantern for


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                          Assumption and Assignment [Docket No. 1945/Adv. Case No. 18-50924
                          (MFW) Docket No. 29 - filed January 7, 2019]

                   Related Documents:

                   i.     Notice of Filing of Exhibits F-H to the Supplemental Objection and Joint
                          Motion of SLP Contract Counterparties to Clarify Sale Order [Docket No.
                          1761 - filed November 21, 2018]

                   ii.    [SEALED] Exhibits F-H to the Supplemental Objection and Joint Motion
                          of SLP Contract Counterparties to Clarify Sale Order [Docket No. 1762 -
                          filed November 21, 2018]

                   iii.   Notice of Special Purpose Hearing [Docket No. 1841 - filed December 11,
                          2018]

                   Status: The hearing on this matter will go forward.

         5.        Motion of Executory Contract Counterparties for Order Confirming That
                   Counterparties’ Agreements Have Been Designated by Lantern for Assumption
                   and Assignment [Docket No. 1724 - filed November 16, 2018]

                   Objection / Response Deadline:       November 30, 2018 at 4:00 p.m. (ET);
                                                        extended to January 7, 2019 at 4:00 p.m.
                                                        (ET)

                   Objections / Responses Received:

                   A.     The Official Committee of Unsecured Creditors’ (I) Objection to
                          Supplemental Notice of Filing of List of Assumed Contracts Pursuant to
                          Sale Order and (B) Joinder to the Motion of Executory Contract
                          Counterparties for Order Confirming That Counterparties’ Agreements
                          Have Been Designated by Lantern for Assumption and Assignment
                          [Docket No. 1771 - filed November 26, 2018]

                   B.     Joinder of Opus Bank to the Official Committee of Unsecured Creditors’
                          (I) Objection to Supplemental Notice of Filing of List of Assumed
                          Contracts Pursuant to Sale Order and (B) Joinder to the Motion of
                          Executory Contract Counterparties for Order Confirming That
                          Counterparties’ Agreements Have Been Designated by Lantern for
                          Assumption and Assignment [Docket No. 1843 - filed December 12,
                          2018]

                   C.     Omnibus Objection of Lantern Entertainment LLC to (I) Supplemental
                          Objection and Joint Motion of SLP Contract Counterparties to Clarify Sale
                          Order; (II) Motion of Executory Contract Counterparties for Order
                          Confirming That Counterparties’ Agreements Have Been Designated by
                          Lantern for Assumption and Assignment; and (III) The Official

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                         Committee of Unsecured Creditors’ (I) Objection to Supplemental Notice
                         of Filing of List of Assumed Contracts Pursuant to Sale Order and (B)
                         Joinder to the Motion of Executory Contract Counterparties for Order
                         Confirming That Counterparties’ Agreements Have Been Designated By
                         Lantern for Assumption and Assignment [Docket No. 1939/Adv. Case No.
                         18-50924 (MFW) Docket No. 25 - filed January 7, 2019]

                   D.    Declaration of Irwin Reiter in Support of Omnibus Objection of Lantern
                         Entertainment LLC to (I) Supplemental Objection and Joint Motion of
                         SLP Contract Counterparties to Clarify Sale Order; (II) Motion of
                         Executory Contract Counterparties for Order Confirming That
                         Counterparties’ Agreements Have Been Designated by Lantern for
                         Assumption and Assignment; and (III) The Official Committee of
                         Unsecured Creditors’ (I) Objection to Supplemental Notice of Filing of
                         List of Assumed Contracts Pursuant to Sale Order and (B) Joinder to the
                         Motion of Executory Contract Counterparties for Order Confirming That
                         Counterparties’ Agreements Have Been Designated By Lantern for
                         Assumption and Assignment [Docket No. 1940/Adv. Case No. 18-50924
                         (MFW) Docket No. 26 - filed January 7, 2019]

                   E.    [SEALED] Omnibus Objection of Lantern Entertainment LLC to
                         (I) Supplemental Objection and Joint Motion of SLP Contract
                         Counterparties to Clarify Sale Order; (II) Motion of Executory Contract
                         Counterparties for Order Confirming That Counterparties’ Agreements
                         Have Been Designated by Lantern for Assumption and Assignment; and
                         (III) The Official Committee of Unsecured Creditors’ (I) Objection to
                         Supplemental Notice of Filing of List of Assumed Contracts Pursuant to
                         Sale Order and (B) Joinder to the Motion of Executory Contract
                         Counterparties for Order Confirming That Counterparties’ Agreements
                         Have Been Designated By Lantern for Assumption and Assignment
                         [Docket No. 1944/Adv. Case No. 18-50924 (MFW) Docket No. 28 - filed
                         January 7, 2019]

                   F.    [SEALED] Declaration of Irwin Reiter in Support of Omnibus Objection
                         of Lantern Entertainment LLC to (I) Supplemental Objection and Joint
                         Motion of SLP Contract Counterparties to Clarify Sale Order; (II) Motion
                         of Executory Contract Counterparties for Order Confirming That
                         Counterparties’ Agreements Have Been Designated by Lantern for
                         Assumption and Assignment; and (III) The Official Committee of
                         Unsecured Creditors’ (I) Objection to Supplemental Notice of Filing of
                         List of Assumed Contracts Pursuant to Sale Order and (B) Joinder to the
                         Motion of Executory Contract Counterparties for Order Confirming That
                         Counterparties’ Agreements Have Been Designated By Lantern for
                         Assumption and Assignment [Docket No. 1945/Adv. Case No. 18-50924
                         (MFW) Docket No. 29 - filed January 7, 2019]

                   Related Documents:

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                   i.     Notice of Hearing Regarding Motion of Executory Contract
                          Counterparties for Order Confirming That Counterparties’ Agreements
                          Have Been Designated by Lantern for Assumption and Assignment
                          [Docket No. 1773 - filed November 26, 2018]

                   ii.    Notice of Special Purpose Hearing [Docket No. 1841 - filed December 11,
                          2018]

                   Status: The hearing on this matter will go forward.

         6.        [SEALED] Motion of the Debtors and Lantern Entertainment, LLC Pursuant to
                   Fed. R. Bankr. P. 9019 for Approval of (I) Settlement Agreement Regarding the
                   A&E Television Networks Agreements and (II) Stipulation with Portfolio
                   Funding Company LLC I [Docket No. 1900 - filed December 28, 2018]

                   Objection / Response Deadline:       January 9, 2019 at 4:00 p.m. (ET); extended
                                                        by agreement for Gaumont, Studiocanal,
                                                        Orange Studio and Wild Bunch to January
                                                        10, 2019 at 4:00 p.m. (ET)

                   Objections / Responses Received:     None to date.

                   Related Documents:

                   i.     [Redacted] Motion of the Debtors and Lantern Entertainment, LLC
                          Pursuant to Fed. R. Bankr. P. 9019 for Approval of (I) Settlement
                          Agreement Regarding the A&E Television Networks Agreements and
                          (II) Stipulation with Portfolio Funding Company LLC I [Docket No. 1901
                          - filed December 28, 2018]

                   ii.    Order Granting Motion for Order to Shorten Time for Notice of the
                          Hearing on, and the Deadline to Respond to, the Motion of the Debtors
                          and Lantern Entertainment, LLC Pursuant to Fed. R. Bankr. P. 9019 for
                          Approval of (I) Settlement Agreement Regarding the A&E Television
                          Networks Agreements and (II) Stipulation with Portfolio Funding
                          Company LLC I [Docket No. 1905 - entered December 28, 2018]

                   iii.   Notice of (A) Motion of the Debtors and Lantern Entertainment, LLC
                          Pursuant to Fed. R. Bankr. P. 9019 for Approval of (I) Settlement
                          Agreement Regarding the A&E Television Networks Agreements and (II)
                          Stipulation with Portfolio Funding Company LLC I; and (b) Motion to
                          File Under Seal Portions of the Motion of the Debtors and Lantern
                          Entertainment, LLC Pursuant to Fed. R. Bankr. P. 9019 for Approval of
                          (I) Settlement Agreement Regarding the A&E Television Networks
                          Agreements and (II) Stipulation with Portfolio Funding Company LLC
                          [Docket No. 1907 - filed December 28, 2018]

                   Status: The hearing on this matter will go forward.

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         7.        Motion to File Under Seal Portions of the Motion of the Debtors and Lantern
                   Entertainment, LLC Pursuant to Fed. R. Bankr. P. 9019 for Approval of
                   (I) Settlement Agreement Regarding the A&E Television Networks Agreements
                   and (II) Stipulation with Portfolio Funding Company LLC I [Docket No. 1902 -
                   filed December 28, 2018]

                   Objection / Response Deadline:       January 9, 2019 at 4:00 p.m. (ET)

                   Objections / Responses Received:     None to date.

                   Related Documents:

                   i.     Order Granting Motion for Order to Shorten Time for Notice of the
                          Hearing on, and the Deadline to Respond to, the Motion of the Debtors
                          and Lantern Entertainment, LLC Pursuant to Fed. R. Bankr. P. 9019 for
                          Approval of (I) Settlement Agreement Regarding the A&E Television
                          Networks Agreements and (II) Stipulation with Portfolio Funding
                          Company LLC I [Docket No. 1905 - entered December 28, 2018]

                   ii.    Notice of (A) Motion of the Debtors and Lantern Entertainment, LLC
                          Pursuant to Fed. R. Bankr. P. 9019 for Approval of (I) Settlement
                          Agreement Regarding the A&E Television Networks Agreements and (II)
                          Stipulation with Portfolio Funding Company LLC I; and (b) Motion to
                          File Under Seal Portions of the Motion of the Debtors and Lantern
                          Entertainment, LLC Pursuant to Fed. R. Bankr. P. 9019 for Approval of
                          (I) Settlement Agreement Regarding the A&E Television Networks
                          Agreements and (II) Stipulation with Portfolio Funding Company LLC
                          [Docket No. 1907 - filed December 28, 2018]

                   Status: The hearing on this matter will go forward.

         8.        Motion of Lantern Entertainment LLC to File Under Seal Exhibits to and Related
                   Chart Regarding, and Redact Certain Information from Exhibits to Declaration
                   Regarding the Omnibus Objection of Lantern Entertainment LLC to
                   (I) Supplemental Objection and Joint Motion of SLP Contract Counterparties to
                   Clarify Sale Order; (II) Motion of Executory Contract Counterparties for Order
                   Confirming That Counterparties’ Agreements Have Been Designated by Lantern
                   for Assumption and Assignment; and (III) The Official Committee of Unsecured
                   Creditors’ (I) Objection to Supplemental Notice of Filing of List of Assumed
                   Contracts Pursuant to Sale Order and (B) Joinder to the Motion of Executory
                   Contract Counterparties for Order Confirming That Counterparties’ Agreements
                   Have Been Designated By Lantern for Assumption and Assignment [Docket No.
                   1941/Adv. Case No. 18-50924 (MFW) Docket No. 27 - filed January 7, 2019]

                   Objection / Response Deadline:       Objections may be raised at the hearing.

                   Objections / Responses Received:     None to date.


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                   Related Documents:

                   i.     Notice of Motion and Hearing [Docket No. 1962/Adv. Case No. 18-50924
                          (MFW) Docket No. 34 – filed January 9, 2019]

                   Status: The hearing on this matter will go forward.

         9.        Contract Counterparties’ Motion to Strike Objection of Lantern Entertainment
                   LLC to (I) Supplemental Objection and Joint Motion of SLP Contract
                   Counterparties to Clarify Sale Order; (II) Motion of Executory Contract
                   Counterparties for Order Confirming That Counterparties’ Agreements Have
                   Been Designated by Lantern for Assumption and Assignment; and (III) The
                   Official Committee of Unsecured Creditors’ (I) Objection to Supplemental Notice
                   of Filing of List of Assumed Contracts Pursuant to Sale Order and (B) Joinder to
                   the Motion of Executory Contract Counterparties for Order Confirming That
                   Counterparties’ Agreements Have Been Designated By Lantern for Assumption
                   and Assignment [Docket No. 1958/Adv. Case No. 18-50924 (MFW) Docket No.
                   31 - filed January 8, 2019]

                   Objection / Response Deadline:        January 11, 2019 at 12:00 noon (ET)

                   Objections / Responses Received:

                   A.     Joinder of 22nd and Indiana Inc. and Bradley Cooper to the Contract
                          Counterparties’ Motion to Strike Objection of Lantern Entertainment LLC
                          to (I) Supplemental Objection and Joint Motion of SLP Contract
                          Counterparties to Clarify Sale Order; (II) Motion of Executory Contract
                          Counterparties for Order Confirming That Counterparties’ Agreements
                          Have Been Designated by Lantern for Assumption and Assignment; and
                          (III) The Official Committee of Unsecured Creditors’ (I) Objection to
                          Supplemental Notice of Filing of List of Assumed Contracts Pursuant to
                          Sale Order and (B) Joinder to the Motion of Executory Contract
                          Counterparties for Order Confirming That Counterparties’ Agreements
                          Have Been Designated By Lantern for Assumption and Assignment
                          [Docket No. 1960 – filed January 8, 2019]

                   Related Documents:

                   i.     Order (A) Granting Motion to Set Expedited Hearing Date and Shorten
                          Notice Period with Respect to Motion to Strike Objection of Lantern
                          Entertainment LLC to (I) Supplemental Objection and Joint Motion of
                          SLP Contract Counterparties to Clarify Sale Order; (II) Motion of
                          Executory Contract Counterparties for Order Confirming That
                          Counterparties’ Agreements Have Been Designated by Lantern for
                          Assumption and Assignment; and (III) The Official Committee of
                          Unsecured Creditors’ (I) Objection to Supplemental Notice of Filing of
                          List of Assumed Contracts Pursuant to Sale Order and (B) Joinder to the
                          Motion of Executory Contract Counterparties for Order Confirming That

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                          Counterparties’ Agreements Have Been Designated By Lantern for
                          Assumption and Assignment [Docket No. 1961/Adv. Case No. 18-50924
                          (MFW) Docket No. 33 – entered January 9, 2019]

                   ii.    Notice of Hearing and Objection Deadline Regarding Motion to Strike
                          Objection of Lantern Entertainment LLC to (I) Supplemental Objection
                          and Joint Motion of SLP Contract Counterparties to Clarify Sale Order;
                          (II) Motion of Executory Contract Counterparties for Order Confirming
                          That Counterparties’ Agreements Have Been Designated by Lantern for
                          Assumption and Assignment; and (III) The Official Committee of
                          Unsecured Creditors’ (I) Objection to Supplemental Notice of Filing of
                          List of Assumed Contracts Pursuant to Sale Order and (B) Joinder to the
                          Motion of Executory Contract Counterparties for Order Confirming That
                          Counterparties’ Agreements Have Been Designated By Lantern for
                          Assumption and Assignment [Docket No. 1963/Adv. Case No. 18-50924
                          (MFW) Docket No. 35 – filed January 9, 2019]

                   Status: The hearing on this matter will go forward.

III.     ADVERSARY MATTERS:

         10.       Pre-trial Conference and Oral Argument Regarding Summary Judgment, Lantern
                   Entertainment LLC v. Bruce Cohen Productions, and Bruce Cohen, Adv. Pro. No.
                   18-50924 (MFW)

                   Answer Deadline: November 16, 2018

                   Related Documents:

                   i.     Complaint for Declaratory Judgment Against Bruce Cohen Productions
                          and Bruce Cohen [Adv. Docket No. 1 - filed October 17, 2018]

                   ii.    Summons and Notice of Pretrial Conference in an Adversary Proceeding
                          [Adv. Docket No. 2 - filed October 17, 2018]

                   iii.   Plaintiff’s Motion for Summary Judgment to Determine the Nonexecutory
                          Nature of a Contract [Adv. Docket No. 6 - filed October 18, 2018]

                   iv.    Memorandum of Law in Support of Plaintiff’s Motion for Summary
                          Judgment to Determine the Nonexecutory Nature of a Contract [Adv.
                          Docket No. 7 - filed October 18, 2018]

                   v.     Declaration of Irwin Reiter in Support of Plaintiff’s Motion for Summary
                          Judgment to Determine the Nonexecutory Nature of a Contract [Adv.
                          Docket No. 8 - filed October 18, 2018]




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                   vi.     Answering Brief of Defendants Bruce Cohen Productions and Bruce
                           Cohen in Support of Opposition to Plaintiff’s Motion for Summary
                           Judgment [Adv. Docket No. 10 - filed November 1, 2018]

                   vii.    Reply Memorandum of Law in Further Support of Plaintiff’s Motion for
                           Summary Judgment to Determine the Nonexecutory Nature of a Contract
                           [Adv. Docket No. 11 - filed November 8, 2018]

                   viii.   Request for Oral Argument [Adv. Docket No. 13 - filed November 15,
                           2018]

                   ix.     Answer and Affirmative Defenses of Defendants Bruce Cohen
                           Productions and Bruce Cohen [Adv. Docket No. 15 - filed November 16,
                           2018]

                   x.      Notice of Completion of Briefing with Respect to Plaintiff Lantern
                           Entertainment LLC’s Motion for Summary Judgment to Determine the
                           Nonexecutory Nature of a Contract [Adv. Docket No. 16 - filed November
                           19, 2018]

                   xi.     Notice of Special Purpose Hearing [Adv. Docket No. 21 - filed December
                           11, 2018]

                   Status: The pre-trial conference and oral argument regarding summary judgment
                           will go forward.




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Dated: January 10, 2019
       Wilmington, Delaware
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                                                              Exhibit A

         Tab            Objection                                                            Status

                   A.   Response of Luge Club Productions, Inc. to Notice of List of         The Debtors understand that Lantern is no
                        Assumed Contracts Pursuant to Sale Order [Docket No. 1488 -          longer interested in acquiring the contract(s)
                        filed September 17, 2018                                             subject to objection. Accordingly, the
                                                                                             objection is moot.
                   B.   Response and Reservation of Rights of OWN LLC to Notice of           The hearing on this matter has been
                        Filing of List of Assumed Contracts Pursuant to Sale Order           continued to February 25, 2019 at 4:00 p.m.
                        [Docket No. 1489 - filed September 17, 2018]                         (ET).

                   C.   Response and Reservation of Rights of Visiona Romantica, Inc.,       This matter is resolved, subject to the terms
                        et al., to Notice of Filing of List of Assumed Contracts Pursuant    set forth in the Stipulation Among the
                        to Sale Order [Docket No. 1490 - filed September 17, 2018]           Debtors, Lantern Entertainment LLC, and
                        [Supplemental Response at Docket No. 1561 - filed October 3,         Visiona Romantica, Inc. et al., Regarding the
                        2018]                                                                Assumption and Assignment of the Tarantino
                                                                                             Agreements (the “Stipulation”). The Court
                                                                                             entered an order approving the Stipulation at
                                                                                             Docket No. 1704.
                   D.   Response and Reservation of Rights of Plural Jempsa, S.L. in         The Debtors understand that Lantern is no
                        Response to Notice of Filing of List of Assumed Contracts            longer interested in acquiring the contract(s)
                        Pursuant to Sale Order [Docket No. 1491 - filed September 17,        subject to objection. Accordingly, the
                        2018]                                                                objection is moot.

                   E.   Limited Objection of Viacom International Inc. to Notice of          The hearing on this matter has been
                        Filing of List of Assumed Contracts [Docket No. 1493 - filed         continued to February 25, 2019 at 4:00 p.m.
                        September 17, 2018] [Objection and Reservation of Rights at          (ET).
                        Docket No. 1813 - filed December 4, 2018]

                   F.   Response and Reservation of Rights of Home Box Office, Inc. to The Debtors understand that Lantern has
                        Debtors’ Notice of Filing of List of Assumed Contracts Pursuant been in discussions with the counterparty and
                        to Sale Order [Docket No. 1494 - filed September 17, 2018]      that the objection has been resolved.



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         Tab            Objection                                                           Status

                   G.   Response and Reservation of Rights of Turner Entertainment          The Debtors understand that Lantern has
                        Networks, Inc. to Debtors’ Notice of Filing of List of Assumed      been in discussions with the counterparty and
                        Contracts Pursuant to Sale Order [Docket No. 1495 - filed           that the objection has been resolved.
                        September 17, 2018]

                   H.   Response and Reservation of Rights of Executory Contract            The hearing on this matter has been
                        Counterparties to Notice of Filing of List of Assumed Contracts     continued to February 25, 2019 at 4:00 p.m.
                        Pursuant to Sale Order [Docket No. 1496 - filed September 17,       (ET).
                        2018]

                   I.   Limited Objection of Certain Contract Counterparties to             The hearing on this matter has been
                        Debtors’ Notice of Filing of List of Assumed Contracts Pursuant     continued to February 25, 2019 at 4:00 p.m.
                        to Sale Order and Reservation of Rights [Docket No. 1497 -          (ET).
                        filed September 17, 2018]

                   J.   Objection of Jon Gordon and Jon Gordon Productions, Inc. to         The hearing on this matter has been
                        Notice of Filing of List of Assumed Contracts Pursuant to Sale      continued to February 25, 2019 at 4:00 p.m.
                        Order; and Reservation of Rights [Docket No. 1498 - filed           (ET).
                        September 17, 2018]

                   K.   Response and Reservation of Rights of Wanda Pictures (Hong          The Debtors understand that Lantern is no
                        Kong) Co., Ltd. to Notice of Filing of List of Assumed Contracts    longer interested in acquiring the contract(s)
                        Pursuant to Sale Order [Docket No. 1499 - filed September 17,       subject to objection. Accordingly, the
                        2018]                                                               objection is moot.

                   L.   Response and Reservation of Rights of Brett Matthews to             The Debtors understand that Lantern has
                        Debtors’ Notice of Filing of List of Assumed Contracts Pursuant     been in discussions with the counterparty and
                        to Sale Order [Docket No. 1500 - filed September 17, 2018]          that Lantern is not interested in acquiring the
                                                                                            contract(s) subject to objection.
                                                                                            Accordingly, by agreement of the Debtors,
                                                                                            Lantern, and the counterparty, the objection
                                                                                            is moot and shall be deemed withdrawn.

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         Tab            Objection                                                          Status

                   M.   Objection of Executory Contract Counterparties to Supplemental The hearing on this matter has been
                        Notice of Filing of List of Assumed Contracts Pursuant to Sale  continued to February 25, 2019 at 4:00 p.m.
                        Order [D.I. 1695]; and Reservation of Rights [Docket No. 1769 - (ET).
                        filed November 26, 2018]

                   N.   Limited Objection of Viacom International Inc. to Notice of        The hearing on this matter has been
                        Filing of List of Assumed Contracts [Docket No. 1772 - filed       continued to February 25, 2019 at 4:00 p.m.
                        November 26, 2018]; Objection and Reservation of Rights of         (ET).
                        Viacom International Inc. and its Controlled Affiliates to
                        Supplemental Notice of Filing of List of Assumed Contracts
                        [Docket No. 1812- filed December 4, 2018]

                   O.   Objection of Stephen King to Supplemental Notice of Filing of      The hearing on this matter has been
                        List of Assumed Contracts Pursuant to Sale Order [Docket No.       continued to February 25, 2019 at 4:00 p.m.
                        1808 - filed December 4, 2018]                                     (ET).

                   P.   Objection of Interested Party Studiocanal S.A.S. to Assumption     The hearing on this matter has been
                        and Assignment of Executory Contract, and Reservation of           continued to February 25, 2019 at 4:00 p.m.
                        Rights [Docket No. 1814 - filed December 4, 2018] [Declaration     (ET).
                        at Docket No. 1815 - filed December 4, 2018; SEALED Exhibit
                        A at Docket No. 1816 - filed December 4, 2018]

                   Q.   The Official Committee of Unsecured Creditors’ (I) Objection to    The hearing on this matter will go forward.
                        Supplemental Notice of Filing of List of Assumed Contracts
                        Pursuant to Sale Order and (B) Joinder to the Motion of
                        Executory Contract Counterparties for Order Confirming That
                        Counterparties’ Agreements Have Been Designated By Lantern
                        for Assumption and Assignment [Docket No. 1771 - filed
                        November 26, 2018]




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